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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


NANCY CAROLA JACOBSON,
TERENCE FLEMING, SUSAN
BOTTCHER, PRIORITIES USA, DNC                  No. 4:18-cv-00262-MW-CAS
SERVICES CORPORATION /
DEMOCRATIC NATIONAL
COMMITTEE, DSCC a/k/a
DEMOCRATIC SENATORIAL
CAMPAIGN COMMITTEE, DCCC a/k/a
DEMOCRATIC CONGRESSIONAL
CAMPAIGN COMMITTEE,
DEMOCRATIC GOVERNORS
ASSOCIATION, and DEMOCRATIC
LEGISLATIVE CAMPAIGN
COMMITTEE,
                 Plaintiffs,
      v.
LAUREL M. LEE, in her official capacity
as the Florida Secretary of State,
                 Defendant,
and
NATIONAL REPUBLICAN SENATE
COMMITTEE, and REPUBLICAN
GOVERNORS ASSOCIATION,
                 Defendant-Intervenors.



      PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR SUMMARY
                            JUDGMENT
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                                 INTRODUCTION
      Defendants do not proffer any material facts to create a genuine dispute that

position bias confers an advantage on first-listed candidates in Florida’s elections.
Florida Statute § 101.151(3)(a) (the “Statute”) confers this advantage on the class
of candidates who belong to the political party of the last-elected Governor.
Because Republicans have won Governor’s races for the last 20 years (by
increasingly minuscule margins), the Statute operates to the severe injury of
Plaintiffs. But even if the Court were to assume that the burden on Plaintiffs was

less significant, making the Statute subject to a more deferential standard of
review, it still could not survive. None of the interests the Secretary identifies to
justify the Statute’s distortion of Florida’s elections can sustain it as a matter of
law, or in light of the undisputed facts.
      The vast majority of the arguments in Defendants’ responses (the
“Responses”) (ECF Nos. 138, 141) to Plaintiffs’ motion for summary judgment
(the “Motion”) (ECF No. 116) are recycled from prior motions. Plaintiffs have
explained why they cannot be sustained, most recently in opposition to
Defendants’ motions for summary judgment (ECF No. 142). As for the handful of
additional arguments Defendants make, most are variations on their same old,
unsupportable themes and are easily disposed of. Plaintiffs have demonstrated they
are entitled to summary judgment, and the Court should grant their Motion.




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                                    ARGUMENT
 I.    THERE ARE NO MATERIAL DISPUTES OF FACT

       Most importantly, Defendants do not and cannot proffer any evidence to
show that the factual question of whether “position bias” skews Florida elections is
genuinely in dispute. The Secretary does not address this point at all. Instead, she
takes the incredible stance that, if position bias is skewing Florida’s elections, it is
immaterial, because an inherently unlevel playing field that confers an unfair
advantage to the last-elected Governor’s party is either not of “constitutional

concern,” ECF No. 138, at 1, 6, or can be otherwise justified by speculative
concerns about voter confusion and administrative difficulties that may arise if the
Court were to choose a particular remedy, id. at 5-6, 11-13. None of these positions
is supportable, but the Secretary’s acute focus on them highlights that she does not
raise any dispute as to the existence of the built-in bias in Florida’s elections.
       As for Intervenors, while they claim to “dispute[]” this question, ECF No.
141 at 20, n.12, they fail to cite any evidence or facts in support. See Bazemore v.
Jefferson Capital Sys., LLC, 827 F.3d 1325, 1333 (11th Cir. 2016) (“‘[C]onclusory
allegations without specific supporting facts have no probative value’ for a party
resisting summary judgment.”) (quoting Leigh v. Warner Bros., 212 F.3d 1210,
1217 (11th Cir. 2000)); Baloco v. Drummond Co., 767 F.3d 1229, 1246 (11th Cir.
2014) (explaining a dispute is not “‘genuine’ if it is unsupported by the evidence or
is created by evidence that is ‘merely colorable’ or ‘not significantly probative’”)
(quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249–50 (1986)); Cordoba
v. Dillard’s, Inc., 419 F.3d 1169, 1181 (11th Cir. 2005) (“Speculation does not

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create a genuine issue of fact; instead, it creates a false issue, the demolition of
which is a primary goal of summary judgment.”) (quoting Hedberg v. Ind. Bell Tel.

Co., 47 F.3d 928, 931–32 (7th Cir. 1995)) (quotation marks omitted).
      Moreover, Intervenors do not deny that their own experts were not asked to
and do not offer an opinion on the question of whether ballot order impacts
elections, in Florida or elsewhere. ECF No. 116, at 7-8. Nor do they dispute that
their experts lack any experience studying ballot order effect and have only
reviewed a scant amount of the vast literature on the subject. Id. at 7-8, nn.8-9.

They also do not dispute that the consensus among those who have studied and
published on position bias is that it is real and impacts elections. Id. at 5 & n.7.
      The only thing that Intervenors cite in support of their assertion that this
question remains “disputed” is the inapposite decision in New Alliance Party v.
New York State Board of Elections, 861 F. Supp. 282 (S.D.N.Y. 1994), which
Intervenors claim proves that “the academic community has been and remains in a
multi-decade debate in the academic literature over whether there is a ballot order
effect.” ECF No. 141, at 2 n.1; see also id. at 20 n.12. But summary judgment is
concerned with the evidence in this case, not that presented by different parties,
litigating a different question, concerning a different statute, in a case decided a
quarter-century ago. See ECF No. 142, at 12, 14-15 (discussing New Alliance
Party, which considered claims by minor political party that “tendered no
empirical evidence in support of its claims,” 861 F. Supp. at 287, but nevertheless
sought to be placed in “first tier” of candidates with political parties that had
demonstrated they could obtain over 50,000 votes in a gubernatorial election); see

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also Fed. R. Civ. P. 56(c)(1) (“A party asserting that a fact . . . is genuinely
disputed must support the assertion by. . . citing to . . . materials in the record . . .

.”) (emphasis added). Moreover, the state of the “debate in the academic literature”
in 1994, when New Alliance Party was decided, cannot answer the evidentiary
question this Court must decide in 2019—one that the Secretary foregoes entirely,
and Intervenors would have the Court punt to another judge based on a decision
made long ago under very different circumstances.
      The existence of position bias in Florida elections is not the only material

fact that the Responses leave unrebutted. Similarly undisputed are that:

             • For the past 20 years, the Statute has required Republicans be
               listed first in every partisan election, ECF No. 116, at 3;

             • Even after Intervenors’ expert Dr. Jonathan Klick piles on a host of
               other variables that he “imagines” might be important to the
               inquiry, his calculations show that Republicans in Florida still
               receive a ballot order advantage of slightly under a percentage
               point, id. at 19-20 (citing ECF No. 112-5, at 9).

             • There have been significant numbers of close elections in Florida
               in recent years, including the last three gubernatorial elections, id.
               at 3-4 (citing ECF No. 112-1, at 127-134), some of which have
               been decided within a single percentage point, see ECF No. 112-1,
               at 127-34;

             • The Republican and Democratic Parties are similarly situated, ECF
               No. 116, at 12-14;

             • More Democratic voters must turn out in support of their
               candidates to counteract the advantage the Statute confers on
               Republicans, id. at 16-17;




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       • There is no state interest in conferring an electoral advantage for
         all candidates sharing the party of the last-elected Governor, id. at
         21-23, 23 n.13;

       • There is no evidence that voters are even aware of ballot order,
         much less that the current system serves any State interest in
         avoiding voter confusion (or that the voters would be confused if a
         rotational system was implemented), id. at 27 (citing ECF No. 112-
         6, at 79:3-19, 97:4-22; ECF No. 112-4, at 120:17-20; and ECF No.
         32, ¶ 11);

       • There is no evidence that voters are confused when the order of
         major political party candidates flips after a change in the
         Governor’s party under the Statute, id. at 8-9 (citing ECF No. 112-
         6, at 79:3-19, 97:4-22; ECF No. 32, at ¶ 11);

       • Counties in Florida currently send voters a single, composite
         sample ballot that does not list all of the races voters may see on
         their ballots, id. at 27-28 (citing ECF No. 112-6, at 94:19-95:13;
         ECF No. 112-8, at 90:11-14, 95:9-16; ECF No. 112-9, at 92:9-
         93:17);

       • Some counties currently notify voters that the composite sample
         ballot they receive may not match their actual ballot, id. at 28
         (citing ECF No. 112-6, at 96:5-14);

       • There is no evidence that voters in states that employ rotation are
         any more confused by their ballots than Florida voters, id. at 28-
         29;

       • The evidence demonstrates that New Jersey voters are not
         confused by the ballot order system there, which uses a form of
         county-by-county rotation, id. (citing ECF 112-14, at 13:20-17:2;
         N.J. Stat. Ann. § 19:14-12 (West 1999 & Supp. 2009));

       • Any possible voter confusion could be alleviated through existing
         channels of voter education and communication, id. at 28 (citing
         ECF No. 112-6, at 96:5-14; ECF No. 112-7, at 170:10-14; ECF
         No. 112-8, at 98:10-13; ECF No. 112-9, at 104:6-9);



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             • County-by-county rotation would impose no additional
               administrative burdens on the counties or the Secretary, id. at 24-
               25 (citing ECF No. 112-6, at 68:4-9; 60:6-61:20, 74:7-21, 82:9-19;
               ECF No. 112-8, at 51:3-10, 67:13-69:11, 71:9-74:8; ECF No. 112-
               9, at 119:21-120:18; ECF No. 55-2, at 130-32; ECF No. 56, at 4);

             • The voting systems used in Florida could easily accommodate
               county-by-county rotation of major party candidates, id. at 25
               (citing ECF No. 112-12, at 37:10-39:15; 42:4-45:7; ECF No. 112-
               13, at 48:2-54:19);

             • By 2020, at least 49 counties will use a voting system (ES&S) that
               could easily accommodate precinct-by-precinct rotation of major
               party candidates, ECF No. 142, at 43-45; ECF No. 112-07, at 50-
               53;

             • There is no increased administrative error with a rotational system,
               ECF No. 116, at 29-30.

II.    PLAINTIFFS HAVE STANDING
       As Plaintiffs have explained, they more than satisfy Article III’s standing
requirements. See ECF No. 142, at 3-10. None of Defendants’ rehashed or
repackaged arguments provide reason for finding otherwise.
       Plaintiffs have previously explained why Intervenors’ reliance on Gill v.
Whitford, 138 S. Ct. 1916 (2018), which required a showing of district-specific

harm in a partisan gerrymandering case, is misplaced—when the harm alleged is
not district-specific, the evidence to establish standing need not be either. See ECF
No. 142, at 6. And contrary to Intervenors’ assertion, Plaintiffs have shown that the
Statute has harmed each Plaintiff individually. See id. at 4-7 & n.4 (explaining why
this case does not raise a “generalized grievance”). Defendants’ suggestion that
Plaintiffs were not injured by the Statute when they were listed first, prior to 1998,


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see ECF No. 141, at 10-11, does nothing to change the fact that Plaintiffs presently
have a constitutionally sufficient injury to maintain this action. See ECF No. 142,

at 7-8 & n.4.
      Defendants’ argument that Plaintiffs must show that ballot order effect has
flipped elections in Florida is wrong as a matter of law. See id. at 33-34; see also
ECF No. 116, at 20. But, in any event, Plaintiffs have done so. See ECF No. 142, at
33-34; ECF No. 116, at 4, n.6. Defendants’ critique of Plaintiffs’ experts in this
regard is both exceedingly vague and ignores the sheer number of Florida elections

that have been decided within the 1% margin of advantage that remains even under
defense expert Dr. Klick’s calculations. Compare ECF No. 112-1, at 127-34
(showing at least 29 elections have been decided within a percentage point over
last 40 years), with ECF No. 112-5, at 9 (concluding Republicans in Florida
receive ballot order advantage of slightly under a percentage point); see also ECF
No. 116, at 19-20; ECF No. 142, at 27-29. As for Defendants’ quibbles with the

degree to which Plaintiffs’ experts find a ballot order effect in Florida, they are
entirely misplaced here, where Plaintiffs move for summary judgment not based on
the specific degree to which ballot order affects elections in Florida, but on the
undisputed fact that it does.
      Similarly, the arguments that Plaintiffs lack standing on traceability or
redressability grounds are meritless. See ECF No. 142, at 8-10. Plaintiffs’ injuries
are “directly attributable” to the Statute’s mandate that candidates of the
Governor’s party be listed first, and “a ruling declaring [the Statute]
unconstitutional and enjoining [its] enforcement . . . would necessarily redress

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[Plaintiffs’] injur[ies].” Richey v. Tyson, 120 F. Supp. 2d 1298, 1306 (S.D. Ala.
2000); see also, e.g., Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n,

135 S. Ct. 2652, 2663 (2015); LaRoque v. Holder, 650 F.3d 777, 791 (D.C. Cir.
2011). 1 Indeed, Intervenors acknowledge that “this Court . . . [has] the power to
declare Florida’s Ballot Order Statute unconstitutional and to enjoin its

enforcement.” ECF No. 141, at 17; see also ECF No. 117, at 9-10 (same). Nothing
more is required. See ECF No. 142, at 8-10.
      The Secretary’s arguments, see ECF No. 138, at 10-14, are similarly flawed.
Plaintiffs do not rely on the Secretary’s inaction to establish standing; it is her
enforcement of the Statute that causes Plaintiffs’ injuries, and enjoining that
enforcement would redress the harm. Nor must Plaintiffs bring their claims under a

federal statute; they have shown that the Statute violates the U.S. Constitution (to


1
  The cases Intervenors cite involved unique circumstances not present here, under
which neither declaratory nor injunctive relief would ameliorate the particular
injuries at issue. See Fed. Deposit Ins. Corp. v. Morley, 867 F.2d 1381, 1389-90
(11th Cir. 1989) (holding borrower would not gain relief if program of financial
assistance to lender were held invalid because it would place lender in a failing
condition); Levy v. Miami-Dade Cty., 358 F.3d 1303 (11th Cir. 2004) (affirming
conclusion that, under circumstances of the case, there was no viable remedy to
alleviate the injury); Women’s Emergency Network v. Bush, 323 F.3d 937, 947-49
(11th Cir. 2003) (concluding enjoining statute authorizing distribution of funds
from sale of pro-life license plates would not redress pro-choice organization’s
alleged injury―denial of opportunity to speak―because restricting pro-life speech
does not enhance pro-choice organization’s ability to speak). A case cited by the
Secretary, Clapper v. Amnesty Int’l USA, 568 U.S. 398 (2013), is likewise
inapposite. There, plaintiff’s “theory of future injury [was] too speculative,” id. at
401, whereas Plaintiffs here have suffered repeated injury in multiple elections and
history will repeat itself unless the Statute is struck down.

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which state and federal statutes alike must bend). The Court may thus properly
declare the Statute unconstitutional and direct the State to correct the violation—as

courts routinely do in voting cases, including those involving ballot order statutes.
See, e.g., Graves v. McElderry, 946 F. Supp. 1569, 1582 (W.D. Okla. 1996);
McLain v. Meier, 637 F.2d 1159, 1170 (8th Cir. 1980); ECF No. 142, at 8-9.
      Contrary to Defendants’ suggestion, Plaintiffs are not required to formulate a
single perfect injunctive remedy that would completely and entirely address every
one of the Statute’s ills to proceed with (or prevail on) their claims. See 281 Care

Comm. v. Arneson, 638 F.3d 621, 631 (8th Cir. 2011) (observing plaintiff “need
not show that a favorable decision will relieve [their] every injury”). While
Plaintiffs have introduced evidence demonstrating that there are at least two ways
in which ballot order may be rotated to remedy their injuries (i.e., by precinct or by
county), equity is characterized by “a high degree of judicial discretion.” D.
Dobbs, LAW    OF   REMEDIES 47 (3d ed. 2018); see also id. at 26. That discretion
“includes the ability to shape equitable relief.” Id. at 47; see also id. at 85. Courts
have “substantial flexibility” in crafting equitable decrees tailored to the particular
facts of each case. Brown v. Plata, 563 U.S. 493, 538 (2011); see also Kansas v.

Nebraska, 135 S. Ct. 1042, 1058 (2015); McCullen v. Coakley, 573 U.S. 464, 492
(2014); ECF No. 142, at 8-9, 42-43. The Constitution does not hold Plaintiffs (or
the Court) to a “Goldilocks” standard, whereby they must advocate for (or
ultimately enter) the “just right” remedy. See, e.g., Chevron Corp. v. Donziger, 974
F. Supp. 2d 362, 639 (S.D.N.Y. 2014) (finding fact that particular equitable decree



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“would not provide a complete remedy . . . does not preclude the [c]ourt from
granting equitable relief that would solve the problem in part”).

      Defendants’ critiques of possible remedies that the Court might consider
should it find a constitutional violation are thus beside the point. Nevertheless, it
bears repeating that their ill-conceived attacks on county-by-county and precinct-
by-precinct rotation are unsupportable as a matter of law and fact. For reasons
already discussed, Defendants’ chief complaint about county-by-county rotation—
that it would not completely neutralize the effects of position bias—assumes a

perfect remedy requirement that simply does not exist. But perhaps even more
importantly, the evidence shows that county-by-county rotation would substantially
ameliorate Plaintiffs’ injuries. Contrary to Intervenors’ claim that there is “no way
to randomly equalize population among Florida’s counties,” ECF No. 141, at 11,
Plaintiffs have shown that if the order of the major parties were alternated based on
the registered voter population in each county, 53% of voters would receive ballots
with one major party listed first and 47% would receive ballots with the other
listed first—a near-even split. See ECF No. 55, ¶ 2; ECF No. 55-1 (Ex. A). While
position bias would remain a factor in races contested within a single district, the
direction of the effect would no longer be uniform, remediating injuries Plaintiffs
currently suffer all the way down the ticket. This is true not only of the individual
candidates who would no longer be perennially relegated to second position merely
because they associate with the party whose candidate placed second in the last
gubernatorial race, but of all candidates who associate with that party, regardless of
their individual position on the ballot, because they share the associational injuries

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their party suffers as a whole under the present all-or-nothing system. See ECF No.
140-4, ¶ 12 (“Even for those state legislative districts that do not cross county

boundaries, the cumulative effect of position bias on the DLCC’s overall mission
(including especially its mission of electing Democratic majorities in state
legislatures) would be drastically reduced. Under a county-by-county rotation
system, not all Democratic state legislative candidates would be disadvantaged
across the board, as they are under the present system.”).
      Intervenors give themselves away by arguing that a county-by-county

rotation system should consider the partisanship of voters in each county,
admitting they fear the negative effects of position bias in “politically closer,
typically Republican leaning counties,” ECF No. 141, at 16. The solution to this
problem (and to the specter of future litigation by candidates for down-ballot races,
about which both Defendants speculate), is to advocate for a more granular level of
rotation, such as by precinct—not to support the continued maintenance of a
blatantly discriminatory system that disadvantages one of the two major political
parties in every single race.
      Defendants also overstate what the evidence shows as to the purported
difficulty of implementing precinct-by-precinct rotation. See ECF No. 138, at 12;
ECF No. 141, at 18-19. It is undisputed that the vast majority of Florida’s counties
use voting systems that are already capable of rotating ballot order by precinct. See
ECF No. 142, at 43-45.2 Those that do not use systems that could be upgraded to
2
 The 49 counties that will be using the ES&S voting system by the 2020 election
encompass 92.3% of Florida’s registered voters. See

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do so with relative ease. Id. Defendants’ purported concerns about state
certification omit the undisputed fact that that process is entirely within the

Secretary’s control. To the extent that precinct-by-precinct rotation would present
particular difficulties in Miami-Dade (the only county that codes and prints ballots
by style instead of by precinct), the Court could craft a hybrid remedy allowing for
by-style rotation in Miami-Dade and by-precinct rotation elsewhere. See ECF No.
112-07, at 92-94,134-38; ECF No. 112-09, at 123-24; ECF No. 113-8, at 69-70. In
any event, courts have repeatedly found that similar claims of administrative

burden cannot, as a matter of law, justify unconstitutional legislation that burdens
voting rights. See ECF No. 116, at 23-25; ECF No. 142, at 38-39. 3 Finally, this
Court and others have repeatedly rejected the notion (raised here by Intervenors,
see ECF No. 141, at 18-19) that an injunction against the Secretary would be
ineffective because of involvement of third parties in the elections process. The
Secretary has not only the power but the obligation to ensure that any injunction is

carried out. See ECF No. 142, at 10.




https://dos.myflorida.com/media/695246/voting-systems-in-use-by-county.pdf.;
https://dos.myflorida.com/elections/data-statistics/voter-registration-
statistics/voter-registration-monthly-reports/voter-registration-by-county-and-
party/.
3
  Intervenors’ reference to the cost of replacing election “machinery” to comply
with the ADA, ECF No. 141, at 19, is mysterious; there is no evidence that any
county would be required to replace machinery in order to implement precinct-by-
precinct rotation, and Intervenors cite none.



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III.    THE COURT HAS AUTHORITY TO ADJUDICATE THIS CASE
        Plaintiffs have repeatedly refuted the notion that this case does not raise

questions of “constitutional importance,” or that there are not manageable judicial
standards for its adjudication. Courts that have considered analogous challenges,
where plaintiffs argue that a ballot order statute favors one category of similarly
situated candidates or parties over another, have universally found those statutes
unconstitutional, and Anderson-Burdick provides the operative standard to evaluate
these claims. See ECF No. 142, at 10-24; ECF No. 116, at 11-12, 13-19.

        Defendants’ latest variation on this theme—that the Elections Clause bars
this lawsuit, see ECF No. 138, at 13-14; ECF No. 141, at 21—fails as well. While
states retain the power to regulate the time, place, and manner of elections, they
cannot do so in a way that violates other provisions of the U.S. Constitution—
including the First and Fourteenth Amendments. Indeed, the entire premise of
Anderson-Burdick is that the states’ regulatory authority must be balanced against
the burdens that election laws “invariably” impose upon voters. Burdick v.
Takushi, 504 U.S. 428, 433 (1992); see also Anderson v. Celebrezze, 460 U.S. 780,
786-89 (1983). “A court considering a [constitutional] challenge to a state election
law” must therefore “weigh the character and magnitude of the asserted injury to
the rights protected by the First and Fourteenth Amendments . . . against the
precise interests put forward by the State as justifications for the burden imposed
by its rule.” Burdick, 504 U.S. at 434 (quotation marks omitted). Applying that test
here, the Statute is unconstitutional.



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       Defendants’ vague invocation of federalism is similarly unavailing. See ECF
No. 138, at 13-14; ECF No. 141, at 17. “[W]hile federalism certainly respects

states’ rights, it also demands the supremacy of federal law when state law offends
federally protected rights.” Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312,
1331 (11th Cir. 2019). Accordingly, if the Court finds the Statute unconstitutional,
it has a duty to strike it down. Id. The Secretary’s reliance on the dissent in Lee to
argue otherwise is perplexing. This argument failed in Lee. Id. at 1328, 1331.
There is no reason why this Court should find it any more convincing here.4

IV.    THE STATUTE IS UNCONSTITUTIONAL
       This is a simple case: the Statute is unconstitutional because it treats
similarly situated political parties differently, to Plaintiffs’ detriment, and none of
the interests the State identifies are sufficient to outweigh that burden as a matter
of law. Nothing in Defendants’ Responses, which repeat arguments previously
made and responded to, changes this conclusion.
          A. The Statute Treats Similarly Situated Parties Differently, to
             Plaintiffs’ Persistent Disadvantage
       Defendants fail to identify any material factual dispute that would enable the
Court to conclude that the Statute does not in fact treat similarly situated parties
differently to Plaintiffs’ repeated detriment.

4
  Rizzo v. Goode, 423 U.S. 362 (1976), is not to the contrary. There, the Court
cautioned that federalism militated against fashioning prophylactic procedures to
minimize misconduct by a handful of state employees when such procedures
would have interfered with the internal disciplinary affairs of a state agency. Any
relief the Court might order in this case would not interfere with the internal affairs
of any state agency. It would, however, make Florida elections decidedly fairer.

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      As an initial matter, Intervenors’ lengthy argument that strict scrutiny does
not apply is puzzling. See ECF No. 141, at 26-30. Although the case law clearly

supports applying heightened scrutiny to this case, see ECF No. 116, at 21-22;
ECF No. 142, at 34 n.18, Plaintiffs argue they are entitled to summary judgment
because the Statue cannot survive even the least stringent level of scrutiny under
Anderson-Burdick. See ECF No. 116, at 21-22.
      And while Defendants continue to assert that the Statute is “facially neutral,”
ECF No. 141, at 24-25; ECF No. 138, at 1, 7, this argument is belied by the

Statute’s plain language, which explicitly prioritizes “the candidates of the party
that received the highest number of votes for Governor in the last election. . . .”
Fla. Stat. § 101.151(3)(a); see ECF No. 116, at 13-14; ECF No. 142, at 15-16.
Thus, Intervenors’ citation to Libertarian Party of Virginia v. Alcorn, 826 F.3d 708
(4th Cir. 2016), cert. denied Sarvis v. Alcorn, 137 S. Ct. 1093 (2017), is badly
misplaced. There, in considering a challenge by a third-party candidate who sought

to be placed among the first tier of major party candidates on the ballot, the court
concluded that Virginia’s “three-tiered ballot ordering” system was facially neutral
and nondiscriminatory, unlike a system—like the one here—that “automatically
elevate[s]” one party “to the top of the ballot.” 826 F.3d at 717 (emphasis added);
see also ECF No. 142, at 13-14; ECF No. 43, at 12 n.5. Defendants’ irrational
argument that, under the Florida Statute, each party has an equal opportunity to be
listed first, ECF No. 141, at 24-25; see also ECF No. 138, at 8 & n.5, similarly
cannot be squared with the text or the effect of the Statute, for reasons Plaintiffs



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have previously discussed. See ECF No. 142, at 1-2, 13-14, 18-19; ECF No. 116, at
18-19. 5

      As for the Secretary’s assertion that there is a growing consensus of cases
finding ballot order challenges to be of no “constitutional concern,” ECF No. 138,
at 1, 6, as Plaintiffs have explained, this just is not true. See ECF No. 142, at 12-19.

To the extent there is a consensus among courts on this question, it is that those
systems most similar to the Statute—i.e., they mandate differential treatment of
similarly situated major parties—are unconstitutional. See id. Defendants’ attempts
to distinguish those analogous cases are so tortured and illogical that they only
serve to further demonstrate that the only logical result is to find the Statute
unconstitutional.

      For example, the Secretary concedes that ballot order systems that
discriminate in favor of “a particular class of candidate,” such as “incumbents or
candidates from a specific political party,” are unconstitutional. ECF No. 138, at 7-
8. Yet, on its face, the Statute favors “a particular class of candidates”—i.e., all
who affiliate with the specific political party of the incumbent Governor. See ECF
No. 116, at 18-19; ECF No. 142, at 16-18. Defendants also agree that systems that
give election officials the authority to “list[] candidates from their party first” are
unconstitutional. ECF No. 138, at 8 n.4; see also ECF No. 141, at 28. By arguing
that this case is meaningfully different, the Secretary ignores that she was

5
 Nor does the fact that the Governor of Florida has been a Democrat in the past
make Plaintiffs any less injured today or the Statute any more constitutional. See
ECF No. 142, at 7 n.4.

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appointed to her position “by the Governor” and “serve[s] at [his] pleasure.” Fla.
Stat. Ann. § 20.10(1). Thus, the Statute not only allows but mandates that the

Secretary “list[] candidates from [her] party first.”
      As for McLain v. Meier, which found unconstitutional a statute that placed
first on the ballot all candidates whose political party received the most votes in the
last congressional election, 637 F.2d 1159, the Secretary admits it concerned “a
ballot order statute like Florida’s” and is not “clearly distinguishable.” ECF No.
138, at 7-8. But Defendants’ arguments that it was wrongly decided, id. at 8-9;

ECF No. 141, at 28-29, are not well-founded. The Eighth Circuit’s decision in
McLain is entirely consistent with all the other cases that have concluded that
statutes that automatically elevate certain types of candidates to the top of the
ballot based on past electoral success are unconstitutional. See ECF No. 142, at 16-
17 (discussing cases).
      The Secretary’s implication that only “incumbent-first” systems can be
unconstitutional, ECF No. 138, at 8, is inconsistent with her own admission that
statutes that confer a ballot order advantage on a “specific political party” are
unconstitutional, id. at 7; relies entirely on dicta from the inapposite New Alliance
Party, see discussion supra at 3-4; and ignores that the statutes at issue in McLain
and here are essentially “incumbent-first” statutes that expand their reach to every
single candidate within the favored incumbent’s party for years at a time. See ECF
No. 116, at 17-19; ECF No. 142, at 17-18.
      Defendants’ complaint that McLain did not consider the state’s asserted
interests in avoiding voter confusion “compelling,” ECF No. 138, at 8; ECF No.

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141, at 28-29, demonstrates not that McLain was wrongly decided, but that it is
consistent with a long line of cases concluding that speculative concerns about,

e.g., voter confusion and election integrity cannot justify disparate treatment
implicating voting rights. See Soltysik v. Padilla, 910 F.3d 438, 448-49 (9th Cir.
2018) (rejecting argument that a state can justify voting regulation with a “merely
‘speculative concern of voter confusion’”) (citation omitted); Boustani v.
Blackwell, 460 F. Supp. 2d 822, 826 (N.D. Ohio 2006) (holding statute
unconstitutional when state “speculated” an interest in preventing voter fraud);

Green Party of N.Y. State v. N.Y. State Bd. of Elections, 267 F. Supp. 2d 342, 359
(E.D.N.Y. 2003) (finding alleged “interest in preventing voter confusion”
“unpersuasive” based on what voters would know and understand); see also ECF
No. 142, at 35-41.
      The Secretary’s view that it is legally erroneous not to automatically credit
any claim that a statute promotes an interest in preventing voter confusion,
moreover, ignores the Supreme Court’s admonition that, when a plaintiff
challenges an election law as unconstitutional, “[h]owever slight” the injury to the
plaintiff may appear, the law must still “be justified by relevant and legitimate state
interests ‘sufficiently weighty to justify the limitation.’” Crawford v. Marion Cty.
Election Bd., 553 U.S. 181, 191 (2008) (controlling op.) (quoting Norman v. Reed,
502 U.S. 279, 280 (1992)). There is no “litmus test” immunizing certain types of
laws from scrutiny (nor are there certain recitations of interests that automatically
make them immune). Id. at 190. In each case, the Court must “make the ‘hard
judgment’ that our adversary system demands.” Id. The Eighth Circuit did so in

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McLain and concluded that the ballot order statute there—which the Secretary
admits   is   functionally    indistinguishable    from    the   Statute   here—was

unconstitutional. This Court should do the same. 6
      For the same reason, the Court can easily dispose of Intervenors’ argument
that because the Statute neither prevents Plaintiffs from voting nor makes it more
difficult to vote, it is per se constitutional. ECF No. 141, at 25. As Plaintiffs
explained when the Secretary made a similar argument, Anderson-Burdick is not so
limited. See ECF No. 142, at 20; see also Obama for Am. v. Husted, 697 F.3d 423,

429 (6th Cir. 2012) (explaining Anderson-Burdick applies in a “broad range of
voting rights context”). Timmons v. Twin Cities Area New Party, 520 U.S. 351
(1997)—cited by Intervenors—does not include such a limiting proposition. See
ECF No. 142, at 13. And Storer v. Brown, 415 U.S. 724, 733 (1974), and Munro v.
Socialist Workers Party, 479 U.S. 189, 190 (1986), simply upheld requirements
that applied equally to all similarly situated minor parties or independent
candidates. 7 Nor does the fact that Plaintiffs have not simultaneously challenged
ballot order systems in New York and Pennsylvania somehow immunize the



6
 New Alliance Party does not alter this conclusion. See ECF No. 138, at 8-9. The
voter confusion concerns at issue in that case centered on a minor political party
plaintiff’s attempt to upend the tiered party ballot order system, 861 F. Supp. at
298, unlike here, as Plaintiffs have previously noted. See ECF No. 142, at 13-15.
7
  Somewhat ironically, Storer also pre-dates both Anderson and Burdick, a point
Defendants both make in trying to distinguish McLain, ECF No. 138, at 8; ECF
No. at 141, at 29 n.15, although they fail to cite any authority suggesting that cases
that pre-date those decisions are no longer persuasive.

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Statute from constitutional attack (as Intervenors seem to urge, ECF No. 141, at 27
n.14), for reasons previously explained. See ECF No. 142, at 7-8, n.4.

      Given the above, it is no wonder Defendants resort to mischaracterizing
Plaintiffs’ position in an effort to avoid summary judgment. ECF No. 138, at 9.
But, contrary to Defendants’ assertions, Plaintiffs have never argued that any votes
cast are invalid, nor do they seek retroactive relief—they simply ask that, going
forward, the undisputed automatic bias caused by the Statute that skews Florida’s
elections be enjoined. See ECF No. 142, at 24 n.11. Nor do Plaintiffs argue, as the

Secretary contends, ECF No. 138, at 7, that major political parties have stronger
constitutional rights than minor parties. Plaintiffs’ point is that major political
parties are not similarly situated to minor political parties, which is well-
established,   and,   under   existing    legal   principles,   renders   the   Statute
unconstitutional. See ECF No. 116, at 26-27; ECF No. 142, at 13-19.

         B. The State’s Proffered Interests Cannot Sustain the Statute as a
            Matter of Law
      Plaintiffs have repeatedly addressed and disposed of almost all the state
interest arguments Defendants rehash here. First, the Secretary argues that Florida
has an interest in defending its statute’s constitutionality, ECF No. 138, at 4-5, but

this argument fails under both law and logic, as previously explained. See ECF No.
142, at 35. Second, the State’s asserted interest in ballot uniformity cannot be
reconciled with the current proliferation of ballot styles in use not just across

Florida, but even within precincts. See id. at 35-36.



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      Next, the Secretary argues that the State’s interest in ensuring the integrity of
Florida elections justifies the Statute, but this position, too, is not well-founded.

For one, the Secretary never explains how skewing elections in favor of the
Governor’s party promotes elections integrity (one might logically conclude it does
exactly the opposite). Nor does the case upon which the Secretary relies provide
reason for finding in her favor. See ECF No. 138, at 5 (citing Eu v. S.F. Cty.
Democratic Cent. Comm., 489 U.S. 214, 231 (1989), a wholly inapposite decision
about a law that forbade political party governing bodies from endorsing or

opposing candidates in primary elections). As with the last time Defendants made
this argument, the Secretary cannot cite to any evidence that actually supports her
position, relying instead on bare speculation about how voter confusion might
result, and generalities about the importance of voters having confidence in the
electoral process. See id. As Plaintiffs have previously pointed out, these are not
the types of “evidence” that can support a finding that the State’s interest justifies
the burden on Plaintiffs, see ECF No. 142, at 36-39, and they similarly cannot
provide reason to deny Plaintiffs’ motion for summary judgment, see supra at 2-3.
In sum, none of the evidence cited by the Secretary establishes a relationship
between the State’s interest in elections integrity and the Statute.
      The same is true of Defendants’ argument that the Statute promotes the
State’s interest in preventing voter confusion—an argument made repeatedly
before, which Plaintiffs have squarely rebutted. See, e.g., ECF No. 30, at 24-27;
ECF No. 116, at 25-29; ECF No. 142, at 39-41. Defendants fail to cite any
evidence in support of their claim that voters would be confused if Florida adopted

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a different ballot order system. Furthermore, Defendants do not proffer any
evidence that would rebut any of the evidence cited by Plaintiffs in their Motion

establishing facts related to the non-existence of voter confusion (and the ease in
addressing any legitimate concerns about the risks of such confusion), as set forth
above, see supra at 4-5.
       Seeking to manufacture a basis for asserting voter confusion, Intervenors
falsely assert that Plaintiffs request random ballot placement that would “risk[]
‘requiring voters to decipher lengthy multi-office, multi-candidate ballots in order

to find their preferred candidates.’” ECF No. 141, at 31 (quoting Alcorn, 826 F.3d
at 719). As Plaintiffs have clearly and repeatedly affirmed since the preliminary
injunction stage, this action challenges only the provision of Florida Statute §
101.151 related to the ordering of major political parties, and any remedy sought
would necessarily list candidates in a consistent order down any given voter’s
ballot. See ECF No. 30, at 7 n.3; ECF No. 116, at 26-27; ECF No. 142, at 39. Thus,
it would be just as easy as it is now for voters to find their preferred candidates on
the ballot.
       Bereft of evidence of a connection between the Statute and any legitimate
state interest, the Secretary states that she does not need any evidence to justify the
State’s interests. ECF No. 138, at 5. This argument relies entirely on New Alliance
Party, which involved a different challenge to a different statute by parties who
were not at all similarly situated. See supra n.5. Whether the court in that case was
correct to reach such a conclusion is not a question this Court need grapple with;
that the Secretary could find no other citation to support this audacious position,

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however, speaks volumes. State interests, even facially legitimate ones, are not
incantations that the Secretary can simply utter to make a statute constitutional. See

Crawford, 553 U.S. at 190; Open Homes Fellowship, Inc. v. Orange Cty., 325 F.
Supp. 2d 1349, 1360 (M.D. Fla. 2004). Defendants’ failure to establish (rather than
merely assert) any state interest that can justify the burdens imposed by the Statute
(even if the Court presumes they are slight) renders it unconstitutional. 8

                                   CONCLUSION
      Plaintiffs respectfully request that the Court grant their motion for summary
judgment.
                     LOCAL RULE 7.1(F) CERTIFICATION
      Counsel for Plaintiffs, Fritz Wermuth, Esquire, certifies that this motion
contains 6,311 words, excluding the case caption, tables of contents and
authorities, and certificate of service.
                           CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on May 7, 2019, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send a
notice of electronic filing to all counsel of record.




8
 The Court should also reject Intervenors’ argument that the Statute reflects a
policy choice that this Court should not disturb. See ECF No. 141, at 32-33. States
can make unconstitutional policy choices as well constitutional ones; they are still
subject to judicial scrutiny.

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                               Respectfully submitted,

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